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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on September 15, 2022

UNITED STATES OF AMERICA : CRIMINAL NO. 21-CR-127-ABJ
v. : VIOLATIONS:
: 180U.S.C. §§ 1512(c)(2), and 2
JOSHUA BLACK, : (Obstruction of an Official Proceeding and
: Aiding and Abetting)
Defendant. : 18 U.S.C. §§ 1752(a)(1) and (b)(1)(A)

(Entering and Remaining in a Restricted
Building or Grounds with a Deadly or
Dangerous Weapon)

18 U.S.C. §§ 1752(a)(2) and (b)(1)(A)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

40 U.S.C. § 5104(e)(1)(A)

(Unlawful Possession of a Dangerous
Weapon on Capitol Grounds or Buildings)
40 U.S.C. § 5104(e)(2)(A)

(Entering and Remaining on the Floor of
Congress)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in a Capitol Building)

INDICTMENT

The Grand Jury charges that:
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COUNT ONE
On or about January 6, 2021, within the District of Columbia and elsewhere, JOSHUA BLACK,
attempted to, and did, corruptly obstruct, influence, and impede an official proceeding, that is, a
proceeding before Congress, specifically, Congress’s certification of the Electoral College vote as
set out in the Twelfth Amendment of the Constitution of the United States and 3 U.S.C. §§ 15-18.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of
Title 18, United States Code, Sections 1512(c)(2), and 2)

COUNT TWO
On or about January 6, 2021, within the District of Columbia, JOSHUA BLACK,
unlawfully and knowingly entered and remained in a restricted building and grounds, that is, any
posted, cordoned-off, and otherwise restricted area within the United States Capitol and its
grounds, where the Vice President was and would be temporarily visiting, without lawful authority
to do so, and, during and in relation to the offense, did use and carry a deadly and dangerous
weapon, that is, a knife.

(Entering and Remaining in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Sections 1752(a)(1) and
(b)(1)(A))

COUNT THREE

On or about January 6, 2021, within the District of Columbia, JOSHUA BLACK,
knowingly, and with intent to impede and disrupt the orderly conduct of Government business
and official functions, engaged in disorderly and disruptive conduct in and within such
proximity to, a restricted building and grounds, that is, any posted, cordoned-off, and
otherwise restricted area within the United States Capitol and its grounds, where the Vice

President was and would be
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temporarily visiting, when and so that such conduct did in fact impede and disrupt the orderly
conduct of Government business and official functions, and, during and in relation to the offense,
did use and carry a deadly and dangerous weapon, that is, a knife.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a
Deadly or Dangerous Weapon, in violation of Title 18, United States Code, Sections
1752(a)(2) and (b)(1)(A))

COUNT FOUR

On or about January 6, 2021, within the District of Columbia, JOSHUA BLACK, carried
and had readily accessible a dangerous weapon, that is, a knife, on the United States Capitol

Grounds and in any of the Capitol Buildings.

(Unlawful Possession of a Dangerous Weapon on Capitol Grounds or Buildings, in
violation of Title 40, United States Code, Section 5104(e)(1)(A))

COUNT FIVE
On or about January 6, 2021, within the District of Columbia, JOSHUA BLACK,

willfully and knowingly entered and remained on the floor of a House of Congress and in any

cloakroom and lobby adjacent to that floor, without authorization to do so.

(Entering and Remaining on the Floor of Congress, in violation of Title 40, United
States Code, Section 5104(e)(2)(A))

COUNT SIX

On or about January 6, 2021, within the District of Columbia, JOSHUA BLACK,
willfully and knowingly engaged in disorderly and disruptive conduct in any of the Capitol
Buildings with the intent to impede, disrupt, and disturb the orderly conduct of a session of

Congress and either
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House of Congress, and the orderly conduct in that building of a hearing before or any deliberation
of, a committee of Congress or either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))

A TRUE BILL:

FOREPERSON.

Ptr) bold

Attorney for the United States
In and for the District of Columbia
